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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA



CASSANDRA BERRY, ET AL.                                 CIVIL ACTION


VERSUS                                                  NO. 10-4049


PAUL PASTOREK, ET AL.                                   SECTION "A"(4)



                                 ORDER

     IT IS ORDERED that a settlement conference with United

States District Judge Lance Africk is SET for Tuesday, August 2,

2011, at 7:30 a.m. in his chambers, 500 Poydras Street, Rm. C405,

New Orleans, Louisiana, 70130.




                                     JAY C. ZAINEY
                              UNITED STATES DISTRICT JUDGE



NEF: Judge Africk




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